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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF KENTUCKY
                                AT LOUISVILLE


HON. JASON NEMES, et al.                                                      PLAINTIFF

vs.                                              CIVIL ACTION NO. 3:20-CV-407-CRS

CARL BENSINGER, et al.                                                    DEFENDANTS


                                         ORDER
      Motion having been made and for the reasons set forth in the memorandum opinion entered

herein this date and the Court being otherwise sufficiently advised, IT IS HEREBY ORDERED

AND ADJUDGED that Proposed Intervenor Amy McGrath for Senate Inc.’s motion to intervene,

DN 18, is DENIED. Further, IT IS HEREBY ORDERED AND ADJUDGED that Defendant

Secretary of State Michael Adams’ motion to dismiss, DN 36, is DENIED AS MOOT.

IT IS SO ORDERED.




        June 16, 2020




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